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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


STRIKE 3 HOLDINGS, LLC,
                                          Civil Action No. 3:18-cv-00676-MPS
        Plaintiff,

v.

JOHN DOE subscriber assigned IP address
24.151.79.4,

        Defendant.



MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO
  SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE




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MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO
  SERVE A THIRD-PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

         Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff hereby respectfully submits this

Memorandum of Law in support of its Motion for Leave to serve a third-party subpoena prior to

a rule 26(f) conference.

    I.   INTRODUCTION

         Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”) is the owner of original,

award winning motion pictures featured on its brand’s subscription-based adult websites.1

Unfortunately, Strike 3’s success has led users on the Internet to illegally infringe its works on a

very large scale. Indeed, Strike 3’s motion pictures are among the most infringed content in the

world. See Declaration of Greg Lansky, attached hereto as Exhibit “A.”2

         Strike 3 hired an investigator, IPP International U.G., to monitor and detect the

infringement of Strike 3’s content. IPP discovered that Defendant’s IP address was illegally

distributing several of Strike 3’s motion pictures. Strike 3 only knows Defendant by his or her IP

address. This IP address is assigned to Defendant by his or her Internet Service Provider

(“ISP”), which is the only party with the information necessary to identify Defendant by

correlating the IP address with John Doe’s identity. As a result, Plaintiff now seeks leave to

serve limited, immediate discovery on Defendant’s ISP, Spectrum (Spectrum) so that Plaintiff

may learn Defendant’s identity, investigate Defendant’s role in the infringement, and effectuate

service. Further impelling expediency, Defendant’s ISP only maintains the internal logs of the

requested information for a brief period of time.3


1
  See generally Declaration of Greg Lansky, attached hereto as Exhibit “A.”
2
  See also Dylan Love, The Most-Pirated Man in Porn Is Getting Angry, INVERSE (May 24, 2017),
https://www.inverse.com/article/31350-greg-lansky-tushy-blacked-vixen-interview.
3
  See, e.g., Statement Of Jason Weinstein Deputy Assistant Attorney General Criminal Division Before The
Committee On Judiciary Subcommittee On Crime, Terrorism, And Homeland Security United States House Of
Representatives, (January 2011) at

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        Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Defendant’s ISP. This

subpoena will only demand the true name and address of Defendant. Plaintiff will only use this

information to prosecute the claims made in its Complaint. Without this information, Plaintiff

cannot serve Defendant nor pursue this lawsuit and protect its copyrights.

 II.    FACTS

        A. Plaintiff Has a Serious Problem with BitTorrent Infringement

        Greg Lansky (“Mr. Lansky”) is a member of General Media Systems, LLC, (“GMS”),

the parent company that owns Strike 3. See Exhibit “A” at ¶ 1. Strike 3 owns the intellectual

property to the Blacked, Blacked Raw, Tushy, and Vixen adult brands, including the copyrights to

each of the motion pictures distributed through the brands’ sites and the trademarks to each of

the brand names and logos. Id. at ¶ 3. Strike 3 is owned entirely by Mr. Lansky’s company,

GMS, and has existed since 2015. Id.

        Mr. Lansky is the Chief Creative Officer of the Blacked, Blacked Raw, Tushy, and Vixen

adult brands. Id. at ¶ 1. In 2006, Mr. Lansky moved to the United States from Paris to pursue

his dream of creating art in an adult context. Id. at ¶ 4. He has always been passionate about

photography and cinematography. Id.

        It was a difficult start – Mr. Lansky could barely speak English, and he had trouble

making connections and finding employment. Id. at ¶ 5. Eventually, after tremendous hard

work, Mr. Lansky was fortunate to be hired by some of the biggest adult brands in the world. Id.

at ¶ 6. Through these experiences, Mr. Lansky was able to establish himself and become an

expert in the field. Id.




http://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/01/25/11//01-25-11-crm-weinstein-
testimony-re-data-retention-as-a-tool-for-investigating-internet-child-pornography-and-other-internet-crimes.pdf,
stating: “Some [ISP] records are kept for weeks or months; others are stored very briefly before being purged.”

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       In 2013, Mr. Lansky decided to risk everything to create his own company and studio.

Id. at ¶ 7. After a few years, his brands turned into a multi-million dollar a year business. Id. at ¶

10. His philosophy is to pay artists and models an amount above that being paid by other

companies, focusing on delivering superior quality adult films. Id. at ¶¶ 12–13. Moreover,

Strike 3’s motion pictures are known for having the highest production budget of any in the

industry. Id. at ¶ 15.

       Because of this, Strike 3’s brand’s websites have a subscriber base that is one of the

highest of any adult sites in the world, with 20 million unique visitors to its websites per month,

these websites enjoy a loyal following. Id. at ¶ 10. Strike 3 is also currently the number one

seller of adult DVDs in the United States. Id. at ¶ 17. Finally, Strike 3’s content is licensed

throughout the world, including by most major cable networks. Id. at ¶ 18. This success has led

to numerous awards being bestowed upon Strike 3, such as “adult site of the year,” “best

marketing campaign – company image,” and “best cinematography.” Id. at ¶ 19. Mr. Lansky

himself has also won “director of the year” three years in a row. Id.

       Unfortunately, piracy is a major threat and causes tremendous damage to Strike 3. As

Mr. Lansky succinctly puts it, Strike 3 “can compete in the industry, but we cannot compete

when our content is stolen.” Id. at ¶ 22. To continue to provide value for members, exciting and

inspiring projects for adult performers, and to continue to create top paying jobs and growth in

the adult community, Strike 3 must protect its copyrights. Id. at ¶ 29.

       B. Plaintiff Brings Its Litigation in Good Faith

       Strike 3 is mindful of the nature of the litigation and its goal is to not embarrass anyone

or force anyone to settle unwillingly, especially anyone that is innocent. Id. at ¶ 28. Therefore,

Strike 3 only files strong cases against extreme infringers. Id. at ¶ 29. Indeed, each lawsuit is

brought against infringers that not only engage in illegal downloading, but are also large scale

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unauthorized distributors of Strike 3’s content. Id. All defendants within the Strike 3 litigation

have distributed, at a minimum, at least 15% of Strike 3’s entire copyrighted library. Id. Strike 3

does not seek settlements unless initiated by defendant or defendant’s counsel. Id. at ¶ 30.

Moreover, Strike 3 does not send demand letters nor make any attempt to contact a defendant

prior to service of the Complaint. Id. Strike 3 is careful to only proceed to litigation with strong

cases, when it has a good faith basis for doing so. Id. at ¶ 31.

Strike 3 is a successful adult entertainment company that makes nearly all of its revenue from

sales of subscriptions, DVDs, and licenses. Id. at ¶ 32. This litigation, or any litigation instituted

by Strike 3, is not a business model. Id. Instead, Strike 3’s goal is to deter piracy and redirect the

infringement back into legitimate sales. Id. Proceeds that Strike 3 receives from settlements go

back into making the company whole, including investing in better pay for artists and

performers, better quality productions, and hiring and providing benefits for employees. Id.

III.   ARGUMENT

       A. Legal Standard Governing Expedited Discovery Requests To Identify An
          Anonymous Defendant

       “Though parties generally may not initiate discovery prior to satisfying the meet and

confer requirement of Fed. R. Civ. P. 26(f), courts may in some instances order earlier

discovery.” Digital Sin, Inc. v. Does 1-176, 279 F.R.D. 239, 241 (S.D.N.Y. 2012). “[A] party

may engage in discovery before such a conference pursuant to court order.” Malibu Media, LLC

v. John Doe Subscriber Assigned IP Address 173.68.5.86, No. CV 1:16-02462-AJN, 2016 WL

2894919, at *2 (S.D.N.Y. May 16, 2016) (citing Fed. R. Civ. P. 26(d)(1)). The Court investigates

whether Plaintiff has “good cause” before ordering early discovery. See Arista Records LLC v.

Does 1-4, 589 F. Supp. 2d 151, 152–53 (D. Conn. 2008) (citing Semitool, Inc. v. Tokyo Electron

Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002) (noting “[g]ood cause may be found where the


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need for expedited discovery, in consideration of the administration of justice, outweighs the

prejudice to the responding party”)); see also 8A Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 2046.1 (3d ed. 2011) ("Although [Rule 26(d)] does not say so,

it is implicit that some showing of good cause should be made to justify such an order, and

courts presented with requests for immediate discovery have frequently treated the question

whether to authorize early discovery as governed by a good cause standard.").

       The Second Circuit has noted that in John Doe proceedings, “identification of the alleged

infringers [is] indispensable for the vindication of plaintiffs' copyright[s]” and that information

was not available “through alternative means.” Arista Records LLC v. Doe, 604 F.3d 110, 115

(2d Cir. 2010) (agreeing with the findings of the magistrate judge and denying Doe defendant’s

motion to quash plaintiff’s subpoena). This Court, in agreement with Arista, analyzes five factors

to determine whether good cause exists. Strike 3 Holdings, LLC v. Doe, No. CV 3:17-1680

(CSH), 2017 WL 5001474, at *2 (D. Conn. Nov. 1, 2017) (citing Arista Records, 604 F.3d at

119. The factors include:

        (1) [the] concrete[ness of the plaintiff's] showing of a prima facie claim of
        actionable harm, . . . (2) [the] specificity of the discovery request, . . . (3) the
        absence of alternative means to obtain the subpoenaed information, . . . (4) [the]
        need for the subpoenaed information to advance the claim, . . . and (5) the
        [objecting] party's expectation of privacy.

Id. (citations omitted). This analysis has become the standard in BitTorrent copyright cases. See

UN4 Prods., Inc. v. Doe, No. CV 17-3278 PKC (SMG), 2017 WL 2589328, at *1 (E.D.N.Y.

June 14, 2017) (collecting cases). “If ‘[a]pplication of these ‘principal factors' confirms that the

Plaintiff is entitled’ to the requested subpoena, the motion for early discovery will be granted for

‘good cause.’” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL 5001474 at *2 (quoting

Malibu Media, LLC, 2016 WL 2894919, at *2).



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       B. There Is Good Cause for this Court to Grant Plaintiff’s Motion for Leave to Serve Its
          Subpoena

           1. Plaintiff’s Complaint Makes A Prima Facie Claim for Direct Copyright
              Infringement

       To make a prima facie claim for copyright infringement, Plaintiff must show

(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that are

original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Plaintiff’s

Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works, which [are] an

original work of authorship”; (2) “[d]efendant copied and distributed the constituent elements of

Plaintiff’s Works using the BitTorrent protocol”; and (3) “[a]t no point in time did Plaintiff

authorize, permit or consent to Defendant’s distribution of its Works, expressly or otherwise.”

See Complaint at ¶¶ 35–37.

       Plaintiff owns a valid copyright in the Works, which are registered with the United States

Copyright Office or have complete applications pending. See 17 U.S.C. § 410(c); see also

Complaint at ¶¶ 31–33. Plaintiff’s prima facie allegations of infringement are attested to by

Plaintiff’s investigator, IPP International U.G.’s employee, Tobias Fieser. See Exhibit “B.”

Finally, each digital file has been verified to be a copy of one of Plaintiff’s copyrighted works.

See Declaration of Susan Stalzer, Exhibit “C.”

       Plaintiff has also made a plausible prima facie showing of “copying.” “‘The word

'copying' is shorthand for the infringing of any of the copyright owner's five exclusive rights’

described in § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).

Plaintiff’s Complaint alleges that Doe Defendant not only downloaded Plaintiff’s works over the

BitTorrent network, see 17 U.S.C. § 106(1), but also distributed these files to the BitTorrent

swarm. See id. § 106(3); see also Complaint at ¶ 38.



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       A “[p]laintiff has made a concrete, prima facie case of copyright infringement by . . .

alleging unlawful downloading, copying, and distribution of this work by specifying the type of

technology used, the IP address from which the file was accessed and shared, and the date and

time of the infringement.” Malibu Media, LLC v. Doe, No. CV 14-4808 (JS)(SIL), 2016 WL

4574677, at *6 (E.D.N.Y. Sept. 1, 2016). “[T]he use of P2P systems to download and distribute

copyrighted music has been held to constitute copyright infringement.” Sony Music Entm't Inc.,

326 F. Supp. 2d, at 565–66 (collecting cases). “Indeed, every court to have addressed this issue

has found a sufficiently alleged copyright infringement claim based on BitTorrent technology,

even when the defendant was merely identified with an IP address.” Patrick Collins, Inc. v. John

Doe, 945 F. Supp. 2d 367, 375 (E.D.N.Y. 2013) (discussing the sufficiency of the complaint

under Rule 12(b)(6)).

           2. Plaintiff Identifies the Limited and Specific Information Its Subpoena Seeks That
              Is Necessary to Serve Doe Defendant

       Plaintiff’s Subpoena is limited and only “seeks concrete and narrow information: the

name and address of the subscriber associated with [Doe Defendant’s] IP address . . . .” John

Wiley & Sons, Inc. v. Doe, 284 F.R.D. 185, 190 (S.D.N.Y. 2012). “Courts have labeled the

subscriber's identity and address as ‘highly specific,’ recognizing that Plaintiffs clearly need

identification of the putative John Does in order to serve process on them and prosecute their

claims . . . .” ” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL 5001474 at *3 (citations

and internal quotations omitted); see Arista Records, 589 F. Supp. 2d at 153 (permitting

“expedited discovery limited to the ‘name, address, telephone number, e-mail address, and

Media Access Control addresses for each defendant’”) (quoting London–Sire v. Doe, 542

F.Supp.2d 153, 178 (D. Mass. 2008) (Gertner, J.)). “Because the subpoena is sufficiently

specific, the second principal factor weighs in favor of the Court granting Plaintiff's motion for


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leave to serve the subpoena.” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL 5001474 at

*3.

             3. There Are No “Alternative Means” to Uncover Doe Defendant’s True Identity

          At this early stage in litigation, “[t]he only information Plaintiff has regarding Defendant

Doe is his IP address.” Id. at *4. People using the internet are anonymous to the public, but the

ISPs responsible for assigning any given IP address “know who an address is assigned to and

how to get in contact with them.”4 ISPs’ records “are the only available evidence that allows us

to investigate who committed crimes on the Internet. They may be the only way to learn, for

example, that a certain Internet address was used by a particular human being to engage in or

facilitate a criminal offense.”5 Since there is no public registry of what IP addresses correspond

to which subscribers, Plaintiff’s subpoena is necessary to advancing litigation. Cf. Strike 3

Holdings, No. CV 3:17-1680 (CSH), 2017 WL 5001474 at *4 (citation omitted) (“Defendant's

ISP . . . is the only entity that can correlate the IP address to its subscriber and identify Defendant

as the person assigned the IP address . . . during the time of the alleged infringement.”).

          There is simply no alternative means by which Plaintiff can identify Doe Defendant

absent the present subpoena. Indeed, “BitTorrent software is ‘largely anonymous’ except insofar

as it requires a user to broadcast the user's IP address.” John Wiley & Sons, Inc., 284 F.R.D., at

190; see also UN4 Prods., No. CV 17-3278 PKC (SMG). 2017 WL 2589328 at *3 (“BitTorrent's

appeal to potential infringers is the large degree of anonymity it provides users.”). The ISP is the

only entity that can correspond a subscriber’s identity with his or her IP address, and since


4
    Beginner’s Guide to Internet Protocol (IP) Addresses at p. 4, available at
https://www.icann.org/en/system/files/files/ip-addresses-beginners-guide-04mar11-en.pdf.; American
Registry for Internet Numbers Number Resource Policy Manual at 4.2, available at
https://www.arin.net/policy/nrpm.html#four2.
5
    Statement from Jason Weinstein, n.2, supra.
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Plaintiff “cannot identify [Doe Defendant] without a court-ordered subpoena, . . . there is good

cause to allow for early discovery.” Next Phase Distribution, Inc. v. John Does 1-27, 284 F.R.D.

165, 171–72 (S.D.N.Y. 2012).

            4. The Subpoenaed Information Is Necessary to Advance Plaintiff’s Infringement
               Claim

        As previously emphasized, Plaintiff cannot properly serve Doe Defendant without first

ascertaining the subscriber’s identity from his or her ISP. Judge Chin framed this factor aptly:

“Ascertaining the identities and residences of the Doe defendants is critical to plaintiffs' ability to

pursue litigation, for without this information, plaintiffs will be unable to serve process.” Sony

Music Entm't Inc. v. Does 1-40, 326 F. Supp. 2d 556, 566 (S.D.N.Y. 2004). Plaintiff has a strong

claim, indeed, Arista noted that the “the fundamental copyright principles are clear.” Arista

Records, 604 F.3d at 117. “Because learning the true identities of the pseudonymous individuals

alleged to have violated Plaintiffs' copyrights is essential to their prosecution of this litigation,

Plaintiffs have demonstrated their need for expedited discovery.” Arista Records, 589 F. Supp.

2d at 153; see Malibu Media, LLC v. Doe, No. CV 15-3504 JFB (SIL), 2016 WL 4444799, at

*11 (E.D.N.Y. Aug. 23, 2016) (“Without learning the Defendant's identity and address, the

Plaintiff will be unable to serve process and pursue its claim.”) (citation omitted).

            5. Defendant’s Minimum Privacy Interest Is Substantially Outweighed by Plaintiff’s
               Interest in Protecting Its Copyrights from Mass BitTorrent Infringers

        “[T]here is no expectation of privacy in ‘subscriber information provided to an internet

provider,’ such as an IP address.” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL

5001474 at *5 (citing United States v. Ulbricht, 858 F.3d 71, 84, 96 (2d Cir. 2017)); see also

Sony Music Entm't Inc., 326 F. Supp. 2d at 566–67 (noting Plaintiffs are “entitled to discovery in

light of” this minimal interest). Indeed, Plaintiff’s central need for the subpoenaed for

information, combined with its strong claim, substantially favors good cause. See Arista Records,

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604 F.3d at 124 (finding Doe Defendant’s “expectation of privacy for sharing copyrighted

[works] through an online file-sharing network as simply insufficient to permit him to avoid

having to defend against a claim of copyright infringement.”).

       Moreover, “[i]n cases where parties have argued that the First Amendment protected their

anonymous speech in using their IP addresses, the Second Circuit has held that copyright

infringers are not entitled to shield their identities from those who seek to enforce their claims

under copyright law.” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL 5001474 at *6

(listing examples). “[T]he Doe Defendant's First Amendment right to remain anonymous must

give way to Plaintiff's right to use the judicial process to pursue its allegedly meritorious

copyright infringement claim. Moreover, the Doe Defendant lacks the right under the Fourth

Amendment to protect his IP address from revelation, where he has voluntarily shared such

information with the Internet Service Provider. Plaintiffs will be granted leave to take early

discovery to determine the identity of Defendant Doe.” Id. Indeed, “[c]ourts routinely find the

balance favors granting a plaintiff leave to take early discovery” of the materials sought by the

Plaintiffs here.” Arista Records, 589 F. Supp. 2d 151 at 153 (quoting UMG Recordings, Inc. v.

Doe, No. CV 08–1193, 2008 WL 4104214, at *4 & n. 3 (N.D. Cal. Sept. 3, 2008)).

       C. Protective Order

       In some BitTorrent cases involving adult content, courts have found it appropriate to

issue a protective order establishing procedural safeguards such as allowing a defendant to

proceed anonymously. See e.g., Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL

5001474 at *6–7. Strike 3 respectfully encourages the Court to establish such procedures here,

should the Court find it appropriate.




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IV.    CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests this Court grant leave to Plaintiff

to issue a Rule 45 subpoena to Defendant’s ISP.


Dated: 05/23/2018
                                                      Respectfully submitted,

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